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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT——
JUL 18 2619

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INTRODUCTION SE STRIGT OF MARYLAND

BY DEPUTY

I, Special Agent Keith Murray, being duly sworn, depose and state that:

I am a Special Agent with the Federal Bureau of Investigation (FBI), and have been since
July 2017. 1am currently assigned to FBI’s Baltimore, Maryland field office. As a Special
Agent of the FBI, I am authorized to investigate violations of laws of the United States,
and I am a law enforcement officer with authority to execute arrest, search, and seizure
warrants under the authority of the United States. I have participated in several criminal
investigations involving civil rights investigations, police corruption, corruption of state
and local public officials, white-collar crimes, and other unlawful activities. I have a
finance degree, and prior to joining the FBI in Baltimore I was a Special Agent with
Homeland Security Investigations working investigations involving drug trafficking,
human smuggling, and bulk cash smuggling. I also have gained experience through
training in seminars, classes, and everyday work related to these types of investigations.
PROBABLE CAUSE

1. The facts in this affidavit come from my personal observations, my training
and experience, and information obtained from other agents and witnesses. This affidavit
is intended to show that there is probable cause to believe that Stephen L. ORBACK
committed the offense of communicating a threat, in violation of 18 U.S.C. § 875,
hereinafter the TARGET OFFENSE, and does not set forth all of my knowledge about this
matter.

2. L.D. (hereinafter “L.D.”) works as the Office Manager for the Rosh Pina

Messianic Congregation located at 3408 Walnut Avenue, Owings Mills, Maryland, 21117.

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One of her duties as Office Manager is to answer all phone calls that are made to the
congregation. The calls are automatically forwarded from the congregation to her cell
phone. The phone number for the congregation is (410) 363-4954. L.D.’s phone number
is (410) XXX-XXXX.

3. On May 12, 2019, at approximately 10:30 pm, L.D. was home with her
husband and four (4) children when her cell phone rang. The incoming call showed the
call as restricted. L.D. answered the phone and said “hello.” The unidentified male caller
(hereinafter UM) began making anti-Semitic and threatening comments. After
approximately two (2) minutes, L.D. hung up the phone.

4, A few seconds after hanging up the phone, L.D.’s cell phone rang again
from a restricted number. L.D. answered and activated the speaker function on the phone
so her husband could hear what was being said. The UM continued to make anti-Semitic
and threatening comments. After approximately 40 seconds, L.D. hung up the phone.

5. A few moments later, L.D.’s cell phone rang again from a restricted number.
L.D. did not answer the phone. The call went to a voicemail associated with L.D.’s cell
phone. The cell phone voicemail greeting identifies L.D. by name. L.D. believes this is
when the UM heard her name and assumed she was African-American. The calls continued
throughout the night. The voicemails then began including racially biased and threatening
comments directed at L.D..

6. L.D. called the police due to the frequency and threatening nature of the
calls. An officer with the Baltimore County Police Department arrived at L.D.’s residence.
The officer spoke with L.D., collected some information related to the incident and left.

7. Several minutes later, an officer from a different precinct within the
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Baltimore County Police Department arrived at L.D.’s residence and also collected
information relating to the voicemails being left on L.D.’s phone. While the officer was
present at L.D.’s residence, L.D.’s cell phone rang indicating a restricted phone number.
The officer answered the call and identified himself as a Baltimore County Police Officer.
The UM continued to make anti-Semitic, racially biased, and threatening comments to the
officer. The officer hung up the phone and departed a few minutes later.

8. A short time later, the same officer returned to L.D.’s residence and advised
L.D. that he needed to ask certain questions relating to the voicemails. Several minutes
later, a Lieutenant with the Baltimore County Police Department arrived and advised L.D.
that a Detective with Baltimore County would contact her the following day.

9. The next day Baltimore County Police Detective JENNIFER BARTFELD
(hereinafter BARTFELD) called L.D.. BARTFELD talked with L.D. about acquiring
L.D.’s cell phone records to try and identify the UM’s cell phone number. L.D. obtained
the cell records from the cell phone provider and sent them to BARTFELD.

10. On July 8, 2019, BARTFELD sent an electronic copy of L.D.’s cell phone
records to FBI Special Agent (SA) Keith Murray. An examination of L.D.’s cell phone
records indicated the phone number calling L.D. on May 12, 2019 at approximately 10:30
pm, was (701) 491-2865 (Target Mobile Phone 1). |

11. On July 8, 2019, FBI SA Murray received the results of a subpoena issued
to T-Mobile by the Baltimore County Police Department regarding the Target Mobile
Phone | from FBI Task Force Officer (TFO) Richard Johnson. TFO Johnson received the
results from BARTFELD via email on July 3, 2019. An examination of the Target Mobile

Phone 1 told records revealed a high number of calls including 40 calls to phone number
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(520) 975-4489, the Chabad Hebrew School, located in Tucson, Arizona, all on May 12,
2019.

12. The subscriber information returned in the subpoena for the Target Mobile
Phone’ indicated the phone is a pre-paid phone and was activated at an undisclosed
Walmart store on May 10, 2019. Because the phone is a pre-paid phone, there is no
personal subscriber information associated with the phone.

13. On July 3, 2019, L.D. sent several emails to SA Murray containing
electronic copies of the voicemails that were left on her cell phone. Below are the
uncertified transcriptions of four (4) of those voicemails that were received between May
12, 2019 and the present day.

Male: You'll have just heard from Synagogue Rush Penis. Rush the Penis in
our asshole. (Laughs). I.., I got my nigger secretary, (laughing), Morticia Addams
(laughing)..., I got Morticia Addams.., to wanna suck your dick so this is “Rush
Penis” and we are located on Chestnut Street (slight laugh) and one of these days
when we are walking out of our place of worship, all a sudden out of nowhere, a
dozen bullets are gonna come out of somewhere and kill every goddamn last one
of us. Oh my God, we keep thinking about that day. (Slight Laugh). Imagine
that. You just finished your day of worship and you’re tired from suckin’ all
those nigger dicks (slight Laugh or Cough).., lickin’ all that nigger ass..., and
then all a sudden, bullets come out of nowhere and kill everyone of us. Oh my
God! Wouldn’t that be a disaster? (Laughs). (Sniffs). But remember, I know
where you are..., and I hate fuckin’ Jews and I hate fuckin’ niggers so you know
what..., (laughs)..., your day is comin’ near. (Laughs). Your day is...

Female: (In background). (Unintelligible).

Male: ... comin’ near. Imagine that. Huh. You just finished your day of eating
chestnuts..., hmph,.., suckin’ nigger dick and playing with Morticia Addams’
breasts and pussy hole and all a sudden.., just as you’re getting ready to approach
your car..., bang, bang, bang, bang, bang, bang, bang, bang, bang, bang, bang,
bang. Machine... Sound of machine guns just like back in 1941. (Slight Laugh).
They killed every last one of you cock suckers (coughs) in Germany but they
didn’t do a very good job here so I need to finish what they started. Yeah, yeah,
yeah, yeah. (Laughs).
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Male: Let me ask you this, during that place on Walnut Street in Owings Mill
(sic) (slight laugh) (sniffs).., and just when you’re about ready to finish your little
service there.., the Jews come out like.., like fuckin’ rodents.., you know., like the
Pied Piper.., and they think — they’re getting in their car and getting’ ready to go
home to their other Jew bastards when all a sudden a maze of bullets just come
flying out of these machine guns and kill every one of these fuckin’ Jew bastard
pieces of shit. They drop to their fuckin’ knees and go “What just happened?”
and they fall down dead and blood is all over the street and all over them and...
(Sniffs). Hmph. Then the car comes to pick ‘em all up.., the first call wagon..,
and they take ‘em to a medical Examiner, Medical Examiner then does an
autopsy and finds out, “Well guess what? They were killed by a maze of bullets.
(Laughs). Well we’ve got ourselves a pile of dead Jews. Isn’t that wonderful?
So what they do is they go down to the nearest gas station and they get a five
gallon can of gas and they just throw a match on ‘em and dump five gallons of
gas all over ‘em and guess what.., you have a crispy critter now. A dead fuckin’
Jew.., a whole bunch of ‘em.., and they’re just layin’ there dead. No more life.
(Coughs). No more breath. No more anything. They’re dead fuckin’ Jews.
(Coughs). (Sniffs). (Takes a breath). (Coughs). (Clears throat). So everybody
calls “Rush their penis” down to the synagogue.., “Rush Penis Synagogue” or
“Rush Their Penis” up into the peoples’ asshole and this way, they can fuck the
dead mother fuckers and fuck the live ones too. Hmph. (Sniffs). That’s why he’s
called “Rush Penis.” (Sniffs). You wanna “Rush That Penis” down there and
hurry up and fuck ‘em all. Yeah. Fuck the bastards..., hmph.., and then you have
no more Jews. Isn’t that wonderful? Remember, a world without fuckin’ Kike
fuckin’ Jew bastards.., (coughs).., and I wish we could talk. I wish we could get a
world full of no niggers. Fuckin’ Abraham Lincoln.., that cock suck...

(Cuts off).

Male: Hey, you fuckin’ Jew bastards. Can’t you afford a regular lunch? What’s
the matter.., don’t have enough pennies? (Laughs). Your poor.., poor bastards.
You know peanut butter and bread serves a lot of people you fuckin’ goddamn
Kike mother fucker. You’re a bunch of tightwad fuckin’ cock suckin’ pieces of
shit. You can’t even afford to feed people lunch. You are a fuckin’ god damn
piece of shit. Ah... Just imagine that you’re leavin’..., you’re leavin’ your
little.., your little place of worship one.., one fuckin’.., one fuckin’ Friday night or
Saturday morning and all a sudden a maze of fuckin’ automatic guns.., bullets
just.., just overwhelm you and you fall to your knees and go “Oh my God, I just
(Unintelligible) gotta go... Oh, oh isn’t that terrible? Yeah, it is terrible because
we shouldn’t have to waste a cross of bullets on you.., your fuckin’ god damn
tight bitch mother fuckers..., you tight wad pieces of shit. (Unintelligible). A
fuckin’ soup kitchen probably serves more. Hey fuckin’ Kike mother fuckers.
Hell, we shouldn’t spend that kind of money. We should pinch those pennies”
tight. Let’s just give ‘em a real light lunch like grass and dandelions and put
some.., put some ah.., and put some fuckin’ (sighs) vegetable seasoning on it or

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somethin’ and they’{l think they’re eating a salad. (Laughs). I’d like to feed you
all some potassium cyanide and you think you are eating something good (slight
laugh) and the next thing you know, you keel over (Unintelligible) and you’re
dead.., dead.., dead. (Laughs). The only good Jew is a dead Jew and the only
good nigger is a dead nigger..., (laughs)..., (coughs)..., and you sorry mother
fuckin’ Kike bastard.

 

(Pause).
Male: (Coughs). .
Male: Hey, you stupid fuckin’ goddamn dumb ass Jew bitch cunt. You

got sperm runnin’ out of the cracks of your nostril... runnin’ out of your asshole..,
running out of your pussy lips.., ramning out of everywhere. You know why?
You been fuckin’ niggers. Why in the fuck would anybody wanna fuck a stinkin’
nigger and then takin’ a shower once every six months whether _he needs it or
not? You’re the only fuckin’ stupid ass cunt that gets on the telephone to listen to
Rush Penis Synagogue.., rush your penis over here ‘cause I’m a homely lookin’
bitch and I haven’t had any dick since I was three years old. (Shght Laugh).
You’re fuckin’ pathetic bitch. You know that? You’re fuckin’ pathetic. And as -
for reporting me for calling you, you can call the State Police, you can call
Scotland Yard, you can call the local precinct, you can call ah, (slight laugh) the
police, I don’t give a fuck who you call! If they can trace a goddamn Trak phone
that you can buy in 7-1] at three o’clock in the morning that goes back to nothing
and nobody, I’ll take my hat off to them. You see you’re a stupid fuckin’ bitch
that has the mentality of a fuckin’ cockroach. You don’t seem to understand. In
this day and age, you know, back in the day when everything was all hooked up
into wires and... Yeah, you know, you could do somethin’ but you can’t doa
goddamn thing anymore bitch. You can’t do a goddamn thing. Even if you
change your fuckin’ telephone number to a non-listed number, I can get it...,
see.., because you don’t have the equipment that I have. See? So you know
what? You take your goddamn threats. You’re threatenin’ the wrong mother
fucker here. You take your threats and shove ‘em up your goddamn fuckin’
stressed out pussy from every goddamn nigger (Unintelligible). How many
inches do you... You probably got (Unintelligible) pu... (Unintelligible).
(Pause). I bet all them niggers hate you. You must be one homely lookin’
fuckin’bitch. Pussy stinks, breath stinks, body stinks. You ever try a shower once
in a while? Hi. This is.., this is synagogue Rush-a-Penis Up in Me and we’ll give
you a piece of lunch ‘cause we can’t afford anything more than that. We’ll give
you a light hinch for, you know, letting me suck your dick. You’re pathetic bitch.
You're pathetic and you don’t bother me. I don’t care. I’m gonna call you
way after your great-grandchildren are dead and gone. I’m still gonna be on this
goddamn telephone callin’. You understand me? So you can sit there and eat
your mother fuckin’ walnuts and your chestnuts or whatever the fuck else you
want old biddy. You ain’t stoppin’ shit. You understand? You ain’t stoppin’
shit.
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14. On July 9, 2019, L-D. was interviewed by FBI SA Keith Murray and FBI
TFO Jared Stern. L.D. advised that the only services taking place at the Rosh Pina
Messianic Congregation are on Saturday morning’s beginning around 10:30 am. After the
service ends, members of the congregation head to the Jewish Community Center in
Owings Mills, MD and feed a group of individuals from the area. This usually takes place
around 2:00 pm. The members of the congregation feed the individuals bread, butter,
peanut butter among other foods. L.D. advised the investigators that she was concerned
_ when listening to one of the voicemails that the UM knew that members of the congregation
delivered bread and peanut butter on Saturday afternoons in the Owings Mills area. L.D.
believes that the UM must have been present during one of the trips the congregation made
due to his knowledge of what takes place each Saturday.

15. During another voice message left on L.D.’s voicemail, the UM states
“Come Saturday morning surprise of a lifetime. Fuck your world up!” Then on another
voice message, “You got a surprise coming Saturday morning. Have yourself a grand old
moring.”

16. On July 15, 2019, investigators spoke with B.G., Assistant Director of

Operations and Human Resources for the SIXTH and I HISTORIC SYNAGOGUE located at 600

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TStNW, Washington DC 20001.

17. B.G. stated that the synagogue received several calls from an individual
identifying himself as “Stephen Greenberg” demanding that the synagogue wire $50 to
him. Because the synagogue typically does not wire money to individuals, Greenberg
continued to call demanding the money. Finally after approximately a month of phone

calls and voicemails that were left for the synagogue, $50 was wired to a location in
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Colorado via MoneyGram. Greenberg told B.G. that he did not have a car and frequently
used the local bus system to get around. Greenberg also stated that a friend needed to
pick up the money for him and that the name of his friend was “Stephen

ORBACK.” BG felt like Greenberg was calling from somewhere in the Wisconsin or
North or South Dakota area of the United States. BG stated that he received confirmation
that an individual named Stephen ORBACK picked up the money on Wednesday, July
10, 2019, at approximately 6:42 PM Central time. The transaction number for the
MoneyGram wire is 67168426. B.G. provided investigators with phone number (406)
545-8584, Target Mobile Phone #2, as a contact number for Stephen ORBACK.

18. Investigators received confirmation through Ace Cash Express and
MoneyGram that Steve ORBACK, Arizona Identification Number B14157347, received
$50.00 U.S Currency from Ace Cash Express, on July 10, 2019, under MoneyGram
transaction number 67168426. The $50.00 was sent by B.G.

19. ORBACK was identified by investigators as Stephen Lyle Orback, Date of
Birth, December 31, 1954, Arizona Identification Number B14157347. A review of
records reveals that ORBACK has a record of felony arrests/convictions, including
crimes of violence. There also appear to be outstanding warrants for his arrest in several
jurisdictions. Although he used an Arizona identification document, his current address
or residence is unknown.

20. A Rabbi for Chabad Lubavitch of Tucson, Arizona, 2443 East 4th Street, Tucson,

AZ 85719, (hereinafter Rabbi #1) reported that on May 12, 2019 at 12:20AM, the Rabbi received
a voicemail containing anti Semitic comments towards Rabbi #1’s congregation. Rabbi #1’s
personal cellular telephone number was put on all of the advertisements for the synagogue after the

synagogue's telephone lines started having problems. Further, the phone lines for the associated

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Hebrew School were also being forwarded to the Rabbi #1°s persona! cellular telephone. Shortly
after listing his telephone number on the advertisements, someone started calling his cellular
telephone from a restricted number. The calls were coming in at all hours of the day. Rabbi #1
said that the "guy" is continuously calling. Rabbi #1 stated that sometimes he receives voicemail
messages from the unknown caller, but the caller remains silent.

21. Rabbi #1 was previously the Jewish Chaplain for the State of Arizona prison
system. Rabbi# | believes that the individual who is calling is a former inmate who he used to
counsel. Rabbi #1 advised that he could not remember the individual's first name, but advised that
the individual's last name was either Oirbach or Airbach (Phonetic Spelling).

22. Rabbi #1 advised that he received calls from a restricted phone number as recently
as July 8, 2019. Rabbi#1 advised that there were a total of 23 incoming calls on July 8, 2019 that
came in at 3:02AM and between 5:09AM and 5:14AM.

23. Investigators reviewed Rabbi #1’s, toll records and discovered that the same
(701) 491-2865, Target Mobile Phone #1, phone number that called Rosh Pina Messianic

Congregation in Owings Mills, Maryland, was also calling Rabbi# 1.

24. Investigators discovered that on or about July 2, 2019, the caller switched
to telephone number (406) 545-8584, Target Phone #2. Records show that Rabbi # 1
received numerous phone calls from Target Phone #2, between July 2, 2019, and July 8,
2019.

25. On July 17, 2019, investigators spoke with Rabbi #1, who stated that he is
still receiving phone calls. Photographs of Stephen ORBACK were sent to Rabbi #1 by
investigators, based upon Rabbi #1 previous statement that he had previously counseled
the individual he believed to be the caller. Rabbi #1 reviewed the photograph and

responded, “1000%”, acknowledging that ORBACK is the person he used to counsel in a
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Arizona prison.
CONCLUSION
26. Based on the foregoing, I respectfully submit that there is probable cause
to believe that ORBACK knowingly and willfully, committed violations of the TARGET
OFFENSE of making threatening communications, in violation of 18 U.S.C. § 875,
against Rosh Pina Messianic Congregation, Owings Mills, Maryland.
27. Wherefore, I respectfully request that the Court execute a criminal complaint

and issue an arrest warrant for STEPHEN LYLE ORBACK.

Keith Mufray

Special Agent, Federal Bureau of Investigation

Subscribed and sworn to before me this _/ 5 day of July, 2019

Al-yne—

A. David Copiexthit
United States Magistrate vate udge

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